         Case 4:12-cv-00588-KGB Document 49 Filed 10/25/13 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


DEREK LIND                                                                         PLAINTIFF

v.                                Case No. 4:12-cv-588 KGB

ALLEN & WITHROW, Attorneys
At Law; TLO, LLC                                                               DEFENDANTS

                                            ORDER

       Before the Court is defendant Allen & Withrow’s (“A&W”) motion to allow deposit into

court (Dkt. No. 36). On June 26, 2013, pro se plaintiff Derek Lind appeared in Court with

A&W’s counsel to announce under seal the confidential settlement for the record. Pursuant to

Recital 4 (Payments and Other Consideration) of that signed agreement, “Lind assumes full

responsibility for any attorneys’ fees owed to his prior attorneys in this case, Lorraine Hatcher

and Morris W. Thompson, and releases any claim for attorneys’ fees against A&W.” On June

27, 2013, Ms. Hatcher filed a motion for attorney’s fees (Dkt. No. 35). On June 27, 2013, Mr.

Thompson asserted a lien for attorney’s fees and, on July 18, 2013, filed a motion for attorney’s

fees (Dkt. No. 40). Under Federal Rule of Civil Procedure 67, A&W moves to deposit all of the

settlement proceeds in this case into the registry of the Court pending resolution of Ms. Hatcher

and Mr. Thompson’s motions.

       Mr. Lind objects to the entire settlement amount being deposited into the registry of the

Court as “unneeded delay.” Instead, he argues that only the amount subject to a fee dispute

should be deposited and the remainder of the settlement proceeds should be dispersed. The

Court agrees.

       Ms. Hatcher asserts an attorney’s lien in the amount of $5,200. Mr. Thompson asserts an

attorney’s lien of $2,800. Mr. Lind argues that Mr. Thompson’s motion should be dismissed as
         Case 4:12-cv-00588-KGB Document 49 Filed 10/25/13 Page 2 of 2



untimely under Local Rule 54.1. However, the Court reserves judgment on this to a later date.

Thus, the amount related to claimed attorney’s fees that is in dispute is $8,000.

       IT IS THEREFORE ORDERED THAT A&W’s motion to deposit funds into the registry

of the Court is hereby granted in part. A&W is directed to deposit into the registry of the Court

the amount of $8,000, to be deducted from the total settlement proceeds, by Monday, November

4, 2013. A&W shall pay by Monday, November 4, 2013, the remainder of the settlement

proceeds that is undisputed to Mr. Lind in accord with the confidential settlement reached among

the parties. The Clerk is directed to send a copy of this Order via certified mail to Mr. Lind at

his address of record.

       IT IS SO ORDERED this 25th day of October, 2013.



                                                     ______________________________ 
                                                     KRISTINE G. BAKER
                                                     UNITED STATES DISTRICT JUDGE
